          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL NO. 1:06CR251-3


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
                         )
ROBERT DEON HUNTER, JR. )
                         )


     THIS MATTER is before the Court on the Defendant’s appeal of the

Order issued by the Magistrate Judge on March 7, 2007, denying his

motion for bond.

     On review of the Magistrate Judge’s Order, the Court finds, for the

reasons stated therein, that continued detention of the Defendant is

mandated and the Magistrate Judge’s ruling shall be sustained.

     IT IS, THEREFORE, ORDERED that the Defendant’s appeal of the

Order of detention is DENIED; the Magistrate Judge’s Order is

SUSTAINED, and the Defendant is ordered detained pending further

proceedings in this matter.




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                                Signed: March 13, 2007




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